                                                                                   Motion DENIED.
                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
       v.                                             )       Case No. 3:12-00170
                                                      )
[2] ABRAN ARELLANO-GARCIA                             )       JUDGE TRAUGER
[5] JAIME BENCOMO-GARCIA                              )
       a/k/a JAIME GARCIA                             )

                                MOTION TO TRANSFER CASE

       COMES NOW the United States, by and through United States Attorney Jerry Martin and

Assistant U.S. Attorney Alex Little, and respectfully requests the above-captioned case be transferred

to Judge Campbell if he consents to hear the case.

       As grounds for the requested transfer, the United States submits that this case is closely

connected to two cases currently assigned to Judge Campbell: United States v. Miguel Padilla, et al.,

Case No. 3:10-00258, a narcotics and firearms case involving nine defendants, and United States v.

Maria Lujano, et al., Case No. 3:11-cr-00032, a narcotics case involving two defendants. The

nineteen (19) defendants in all three cases are connected through drug activity.

       To date, Judge Campbell has heard motions, sentenced defendants, and presided over a trial

in the Padilla case. Specifically, the trial of Miguel Padilla took place before Judge Campbell from

September 11, 2012, through September 17, 2012, and the jury returned a guilty verdict as to the

drug conspiracy charge; a mistrial was declared as to the gun charge. During the trial, Judge

Campbell heard testimony from numerous co-defendants in the Padilla case and defendant Jaime

Bencomo-Garcia in the instant case. In addition, defendant Arellano-Garcia in the instant case was

repeatedly identified and discussed in the Padilla trial as one of the leaders of the charged drug

conspiracy. Similarly, if any of the defendants in the instant case proceed to trial, including



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